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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JOHN GIROUX,
                                                                       SECOND AMENDED
                                           Plaintiff,                  COMPLAINT
                            -against-                                  Jury Trial Demanded
 CITY OF NEW YORK; Police Officer JUSTIN                               15-CV-1100 (PKC)(RML)
 SMITH, Shield No. 6812, Police Officer
 DIETRICH WILLIAMS, Shield No. 8476,
 Sergeant DAVID RODGERS, Shield No. 2827,
 and JOHN and JANE DOE 1 through 10,
 individually and in their official capacities (the
 names John and Jane Doe being fictitious, as the
 true names are presently unknown),
                                           Defendants.
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                                 NATURE OF THE ACTION
         1.      This is an action to recover money damages arising out of the violation

 of plaintiff’s rights under the Constitution.

                                JURISDICTION AND VENUE

         2.      This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

 Fourth and Fourteenth Amendments to the Constitution of the United States.

         3.      The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331, 1343

 and 1367(a).

         4.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).

                                          JURY DEMAND
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        5.     Plaintiff demands a trial by jury in this action.
                                         PARTIES

        6.     Plaintiff JOHN GIROUX (“plaintiff” or “Mr. BUIE”) is a resident of

 Kings County in the City and State of New York.

        7.     Defendant City of New York is a municipal corporation organized under

 the laws of the State of New York. It operates the NYPD, a department or agency of

 defendant City of New York responsible for the appointment, training, supervision,

 promotion and discipline of police officers and supervisory police officers, including

 the individually named defendants herein.

        8.     At all times relevant defendants Police Officer Justin Smith (“Smith”),

 Police Officer Dietrich Williams (“Williams”), Shield No. 8476, Sgt. David Rodgers

 (“Rodgers”), Shield No. 2827 and John and Jane Doe 1 through 10 were police

 officers, detectives or supervisors employed by the NYPD. Plaintiff does not know

 the real names and shield numbers of defendants John and Jane Doe 1 through 10.

        9.     At all times relevant herein, defendants Smith and John and Jane Doe 1

 through 10 were acting as agents, servants and employees of defendant City of New

 York and the NYPD. Defendants John and Jane Doe 1 through 10 are sued in their

 individual and official capacities.

        10.    At all times relevant herein, all individual defendants were acting under

 color of state law.
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                              STATEMENT OF FACTS

       11.    At approximately 11:45 p.m. on or about July 4, 2014, plaintiff was

 lawfully within the vicinity of Maple Street and Miami Court attending a July Fourth

 Barbeque.

       12.    A group of police officers, including Smith, Williams and Rodgers, ran

 into the gathering and yelled, “lock them up”, referring to plaintiff and three or four

 other party guests.

       13.    Plaintiff had no idea why he was being handcuffed.

       14.    The officers proceed to unlawfully search plaintiff.

       15.    Despite the fact that they had no probable cause to believe that plaintiff

 had committed any crimes or offenses, the officers placed plaintiff under arrest and

 transported him to the precinct.

       16.    At the precinct, the officers falsely informed employees of the Kings

 County District Attorney’s Office that they had observed plaintiff possessing a gun.

       17.    On or about June 16, 2012, more than two days later, plaintiff was

 arraigned in Kings County Criminal Court.

       18.    Plaintiff was charged with Criminal Possession of a Weapon in the

 Second and Fourth Degrees and Possession of Pistol Ammunition.

       19.    Plaintiff was held on bail.
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       20.       On or about July 9, 2014 plaintiff’s bail was posted and he was released

 from Rikers Island.

       21.       On or about November 26, 2014 plaintiff appeared before a grand jury

 in Kings County.

       22.       The grand jury voted to dismiss all charges against plaintiff.

       23.       Plaintiff was deprived of his liberty, suffered emotional distress, mental

 anguish, fear, pain, bodily injury, anxiety, embarrassment, humiliation, and damage to

 his reputation.

                                       FIRST CLAIM
                                       42 U.S.C. § 1983

       24.       Plaintiff repeats and re-alleges each and every allegation as if fully set

 forth herein.

       25.       Defendants, by their conduct toward plaintiffs alleged herein, violated

 plaintiff’s rights guaranteed by 42 U.S.C. § 1983, the Fourth, Fifth and Fourteenth

 Amendments to the Constitution of the United States.

       26.       As a direct and proximate result of this unlawful conduct, Plaintiff

 sustained the damages hereinbefore alleged.

                                    SECOND CLAIM
                                 Unlawful Stop and Search
       27.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.
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       28.       Defendants violated the Fourth and Fourteenth Amendments because

 they stopped and searched plaintiff without reasonable suspicion.

       29.       As a direct and proximate result of this unlawful conduct, plaintiff

 sustained the damages herein before alleged.

                                      THIRD CLAIM
                                        False Arrest
       30.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       31.       Defendants violated the Fourth and Fourteenth Amendments because

 they arrested plaintiff without probable cause.

       32.       As a direct and proximate result of this unlawful conduct, Plaintiff

 sustained the damages hereinbefore alleged.

                                   FOURTH CLAIM
                                  Malicious Prosecution

       33.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       34.       By their conduct, as described herein, and acting under color of state

 law, defendants are liable to plaintiff under 42 U.S.C. § 1983 for the violation of

 plaintiff’s constitutional right to be free from malicious prosecution under the Fourth

 and Fourteenth Amendments to the United States Constitution.
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       35.       Defendants’ unlawful actions were done willfully, knowingly, with malice

 and with the specific intent to deprive plaintiff of his constitutional rights. The

 prosecution by defendants of plaintiff constituted malicious prosecution in that there

 was no basis for the plaintiff’s arrest, yet defendants continued with the prosecution,

 which was resolved in plaintiff’s favor.

       36.       As a direct and proximate result of defendants’ unlawful actions,

 plaintiffs have suffered, and will continue to suffer, damages, including physical,

 mental and emotional injury and pain, mental anguish, suffering, humiliation,

 embarrassment and loss of reputation.

                                     FIFTH CLAIM
                                   Failure To Intervene

       37.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       38.       Those defendants that were present but did not actively participate in the

 aforementioned unlawful conduct observed such conduct, had an opportunity prevent

 such conduct, had a duty to intervene and prevent such conduct and failed to

 intervene.

       39.       Accordingly, the defendants who failed to intervene violated the First,

 Fourth, Fifth And Fourteenth Amendments.

       40.       As a direct and proximate result of this unlawful conduct, Plaintiff

 sustained the damages hereinbefore alleged.
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                                    SIXTH CLAIM
                       Denial Of Constitutional Right To Fair Trial

       41.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.

       42.       The individual defendants created false evidence against Plaintiff.

       43.       The individual defendants forwarded false evidence to prosecutors in the

 Kings County District Attorney’s office.

       44.       In creating false evidence against Plaintiff, and in forwarding false

 information      to   prosecutors,   the   individual   defendants    violated   Plaintiff’s

 constitutional right to a fair trial under the Due Process Clause of the Fifth and

 Fourteenth Amendments of the United States Constitution.

       45.       As a direct and proximate result of this unlawful conduct, Plaintiff

 sustained the damages hereinbefore alleged.

                                   SEVENTH CLAIM
                                Malicious Abuse of Process

       56.       Plaintiff repeats and realleges each and every allegation as if fully set

 forth herein.
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        57.    The individual defendants issued legal process to place plaintiff under

 arrest on or about on October 21, 2012.

        58.    The Municipal Defendants arrested plaintiff in order to obtain collateral

 objectives outside the legitimate ends of the legal process.

        59.    The Municipal Defendants acted with intent to do harm to plaintiff

 without excuse or justification.

        60.    As a direct and proximate result of this unlawful conduct, plaintiff

 sustained, inter alia, loss of liberty, loss of earnings, emotional distress, mental anguish,

 shock, fright, apprehension, embarrassment, humiliation, and deprivation of his

 constitutional rights, in addition to the damages hereinbefore alleged.
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                              PRAYER FOR RELIEF

       WHEREFORE, plaintiff respectfully requests judgment against defendants as

 follows:

       (a) Compensatory damages against all defendants, jointly and severally;

       (b) Punitive damages against the individual defendants, jointly and severally;

       (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

       (d) Such other and further relief as this Court deems just and proper.




 DATED:      December 10, 2015
             New York, New York


                                         ___/s______________
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                                         Attorney for plaintiff
